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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                             Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                            Exhibit A
                                  Case 1:19-cv-01974-TNM Document 1-1 Filed 07/02/19 Page 2 of 3
     RICHARD E. NEAL,
     MASSACHUSETIS.
        CHAIRMAN
                                             <!Congre9'9' of tbe 'mlniteb ~tate9'                                  KEVIN BRADY,
                                                                                                                      TEXAS,
                                                                                                                 RAN KING MEM BER

J OHN LEWI S, GEORGIA
LLOYD DOGGETT, TEXAS
                                                  ii.~. l!}ouse of l\epresentatibes                        DEVIN N UNES. CALIFORNIA
                                                                                                           VERN BUCHANAN, FLORIDA
MIKE THOMPSON, CALIFORNIA                                                                                  ADRIAN SMITH, NEBRASKA
J OHN B. LARSON, CONNECTICUT                          COMMITIEE ON WAYS AN D MEANS                         KENNY MARCHANT, TEXAS
EARL BLUMENAUER, OREGON                                                                                    TOM REED, NEW YORK
RON KIND, WISCONSIN                                  1102 L O N GWORTH H OUS E O FFICE B U ILDING          MIKE KELLY, PEN N SYLVANIA
BILL PASCRELL JR .. N EW JERSEY                                                                            GEORGE HOLDIN G, NORTH CAROLINA
DAN NY K. DAVIS, ILLINOIS
                                                                   (202 ) 225-3625                         JASON SMITH, MISSOURI
LINDA T. SANCHEZ, CA LIFORNIA                                                                              TOM RICE. SOUTH CAROLINA
BRIAN HIGGINS, N EW YORK
TERRI A . SEWELL, ALABAM A
                                                      wmtasbington, i!l<IC 20515- 0348                     DAVID SCHWEIKERT, ARIZONA
                                                                                                           JACKI E WALORSKI, INDIANA
SUZAN DE LBENE, WASHIN GTO N                                                                               DARIN LAHOOD. ILLINOIS
JUDY CHU, CALIFORNIA                                      http://waysandm eans.ho use.gov                  BRAD R. WEN STRUP, OHIO
GWEN MOORE, WISCONSIN                                                                                      JODEY ARRINGTON , TEXAS
DAN KILDE E. M ICHIGAN                                                                                     DREW FERGU SON, GEORGIA
BREN DAN BOYLE, PENNSYLVANIA                                                                               RON ESTES, KAN SAS
DON BEYER, VIRGINIA
DWIGHT EVANS. PEN NSYLVANIA
                                                                                                           GARY AN DRES,
BRAD SCHNEIDER, ILLI NOIS                                                                                     MINORITY STA FF DIRECTOR
TOM SUOZZI, N EW YO RK
JIMMY PANETTA, CALIFORN IA
STEPHANIE MURPHY, FLORIDA
JIMMY GOMEZ, CALIFORNIA
STEVEN HORSFO RD, N EVADA

BRAN DON CASEY.
                                                                  April 3, 2019
   MAJORITY STAFF DIRECTOR




              The Honorable Charles P. Rettig
              Commissioner
              Internal Revenue Service
              1111 Constitution A venue, NW
              Washington, D.C. 20224

              Dear Commissioner Rettig:

                     The Committee on Ways and Means ("Committee") has oversight and legislative authority
              over our Federal tax laws. With this authority comes a responsibility to ensure that the Internal
              Revenue Service ("IRS") is enforcing the laws in a fair and impartial manner.

                      Consistent with its authority, the Committee is considering legislative proposals and
              conducting oversight related to our Federal tax laws, including, but not limited to, the extent to
              which the IRS audits and enforces the Federal tax laws against a President. Under the Internal
              Revenue Manual, individual income tax returns of a President are subject to . mandatory
              examination, but this practice is IRS policy and not codified in the Federal tax laws. It is necessary
              for the Committee to determine the scope of any such examination and whether it includes a review
              of underlying business activities required to be reported on the individual income tax return.

                      Pursuant to my authority under Internal Revenue Code section 6103(f), for each of the tax
               years 2013 through 2018, I request the following return and return information:

                            1. The Federal individual income tax returns of Donald J. Trump.

                            2. For each Federal individual income tax return requested above, a statement specifying:
                               (a) whether such return is or was ever under any type of examination or audit; (b) the
                               length of such examination or audit; (c) the applicable statute of limitations on such
                               examination or audit; (d) the issue(s) under examination or audit; (e) the reason(s) the
                               return was selected for examination or audit; and (f) the present status of such
                               examination or audit (to include the date and description of the most recent return or
                               return information activity).

                            3. All administrative files (workpapers, affidavits, etc.) for each Federal individual
                               income tax return requested above.
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Commissioner Rettig
April 3, 2019
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        4. The Federal income tax returns of the following entities:

               •   The Donald J. Trump Revocable Trust;
               •   DJT Holdings LLC;
               •   DJT Holdings Managing Member LLC;
               •   DTTM Operations LLC;
               •   DTTM Operations Managing Member Corp;
               •   LFB Acquisition Member Corp;
               •   LFB Acquisition LLC; and
               •   Lamington Farm Club, LLC d/b/a Trump National Golf Club-Bedminster.

       5. For each Federal income tax return of each entity listed above, a statement specifying:
          (a) whether such return is or was ever under any type of examination or audit; (b) the
          length of such examination or audit; (c) the applicable statute of limitations on such
          examination or audit; (d) the issue(s) under examination or audit; (e) the reason(s) the
          return was selected for examination or audit; and (f) the present status of such
          examination or audit (to include the date and description of the most recent return or
          return information activity).

       6. All administrative files (workpapers, affidavits, etc.) for each Federal income tax return
          of each entity listed above.

       7. If no return was filed for the tax year requested, a statement that the entity or individual
          did not file a return for such tax year.

        This document is a record of the Committee and is entrusted to the IRS only for use in
handling this matter. Additionally, any documents created by the IRS in connection with a
response to this Committee document, including (but not limited to) any replies to the Committee,
are records of the Committee and shall be segregated from agency records and remain subject to
the control of the Committee. Accordingly, the aforementioned documents are not "agency
records" for purposes of the Freedom of Information Act. Absent explicit Committee
authorization, access to this document and any responsive documents shall be limited to IRS
personnel who need such access for the purpose of providing information or assistance to the
Committee.

       Please provide the requested return and return information by April 10, 2019. Thank you
for your prompt attention to this matter.

                                            Sincerely,
